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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE THE APPLICATION OF

NELIO NELSON GOMES da SILVA,

PLAINTIFF / PETITIONER,
Vv. C.A. No. 1:18-cv-12353-DPW
MARCILENE de AREDES,
DEFENDANT / RESPONDENT.

FINAL TRIAL EXHIBIT LIST

1. Documentation regarding Immigration Removal Proceeding against Respondent

2. ACA’s therapy records from Shirazeh Shahriar (The Home for Little Wanderers; sessions at
child’s school) (previously marked as Exhibit E)

3, MA’s therapy records from Shirazeh Shahriar (The Home for Little Wanderers; sessions at
child’s school) (previously marked as Exhibit F)

4. Petitioner’s Expert Report / Affidavit Regarding Standing of Petitioner from Lalisa Froeder
Dittrich, Deputy Head of the Brazilian Central Authority for International Child Abduction

501. Proof of Enrollment of ACA in Otis Elementary School

502. Child’s school records from Otis Elementary School

503. Proof of Enrollment of ACA in school in Cuparaque (translation followed by original)

504. Records from ACA’s most recent physical examination

505. Children’s records from Massachusetts Migrant Education Program

506. Phone records of communications between Petitioner and Respondent (translation followed
by original)

507. ACA’s health insurance card

508. Respondent’s Expert Report from Mariana Barsted and Georgia Bella Correa

509. Respondent’s Expert Report from Professors Marilia Pedroso Xavier and Guilherme
Brenner Lucchesi

510. MA’s therapy records from East Boston Neighborhood Health Center (previously marked
as Exhibit D)
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NELIO NELSON GOMES DA SILVA

By his attorneys,
Dated: July 8, 2019

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MARCILENE de AREDES
By her attorneys,
Dated: July 8, 2019

/s/Stephanie Goldenhersh _
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